           CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 1 of 11




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

    Nyra Jean Miller-Fields, individually and      Court File No. 24-cv-01372 (NEB/DTS)
    as Personal Representative of the Estate of
    Ricky Cobb, II,

                         Plaintiff,                       MEMORANDUM OF LAW
                                                      IN SUPPORT OF DEFENDANT
    vs.                                           BRETT SEIDE’S MOTION TO STAY
                                                       PROCEEDINGS AND FOR AN
    Ryan Londregan and Brett Seide,               EXTENSION OF TIME TO ANSWER

                         Defendants.

                                       INTRODUCTION

          This civil rights lawsuit arises out of the death of Ricky Cobb, II, who died during

a traffic stop. Defendant State Patrol Trooper Londregan is facing criminal charges

stemming from that incident. See State v. Londregan, Case No. 27-CR-24-1844 (Henn

Cnty. Ct.). Defendant State Patrol Trooper Brett Seide respectfully requests that this Court

stay all proceedings in this matter until the conclusion of that criminal case. Trooper

Seide’s motion also seeks an extension of the time to answer or respond to the Complaint,

until 30 days after the lifting of the stay, or 30 days after the Court denies this motion.

                              PROCEDURAL BACKGROUND1

          On January 24, 2024, a criminal complaint was filed against Trooper Londregan.

(Kimble Dec. Ex. 1.) There are three counts: (1) second degree unintentional murder—

while committing a felony; (2) first degree assault—great bodily harm; (3) second degree


1
  The factual allegations cited herein are from the criminal complaint and the Complaint in
this matter. The allegations are cited herein so that the Court can evaluate the similarity of
the matters. Trooper Seide does not admit any of the allegations in either complaint.
         CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 2 of 11




manslaughter—culpable negligence creating unreasonable risk. (Id.) The maximum

sentence for Count 1 is 40 years. (Id.) According to the criminal complaint, at around 2:11

a.m. on July 31, 2023, State Trooper Londregan arrived at the scene of a traffic stop. (Id.

page 3.) Mr. Cobb had been stopped for driving at night without his lights on. (Id.)

Trooper Seide told Trooper Londregan that Mr. Cobb was wanted for violating a protective

order in Ramsey County, and that Ramsey County wanted Mr. Cobb arrested and brough

to jail. (Id.)

        Trooper Seide walked to the driver side of Mr. Cobb’s vehicle and Trooper

Londregan walked to the passenger door. (Id.) Trooper Seide told Mr. Cobb he needed to

step out of the vehicle; Mr. Cobb asked if there was a warrant for his arrest and was told

there was not. (Id.)

        Trooper Seide asked Mr. Cobb to hand over his keys and repeated three more times

that Mr. Cobb should step out of the vehicle. (Id.) Trooper Seide informed Mr. Cobb that

he was under arrest. (Id. at page 4.)

        According to the criminal complaint, the following occurred over the course of

approximately five seconds: Trooper Seide and Trooper Londregan opened the drivers and

passenger side doors and leaned into the vehicle, while Mr. Cobb put the car into gear and

allowed it to move forward, but then stopped it. (Id.) Trooper Londregan pulled his firearm

and pointed it at Mr. Cobb and told him to get out of the car. (Id.) Trooper Seide leaned

over Mr. Cobb’s torso and grabbed him; Mr. Cobb removed his foot from the brake and

the car began to move forward. (Id.) As the car was moving forward, Trooper Londregan

discharged his firearm two times, striking Mr. Cobb. (Id.)


                                            2
        CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 3 of 11




       Mr. Cobb’s vehicle sped up, Troopers Seide and Londregan lost their footing and

fell, and the vehicle proceeded down I-94. (Id.) Troopers Seide and Londregan drove to

Mr. Cobb’s vehicle, which had traveled about a quarter mile down the road and collided

with a concrete median. (Id. at page 5.) Trooper Seide drove his squad car into Mr. Cobb’s

vehicle to confirm it was stopped. (Id.) Life-saving efforts were not successful, and Mr.

Cobb died. (Id.)

       On April 17, 2024, Plaintiff filed this lawsuit against Troopers Seide and Londregan.

Plaintiff brings two claims: unlawful seizure and excessive force. The factual allegations

in the Complaint mirror those in the criminal complaint. (See ECF No. 1 ¶¶ 8-40

(discussing the stop and Trooper Londregan discharging his firearm).) Indeed, there are

almost no factual allegations in the Complaint that are not also in the criminal complaint.

The criminal matter is ongoing. An omnibus hearing is scheduled to take place on

April 29, 2024.

                                       ARGUMENT

I.     THE COURT HAS AUTHORITY TO STAY ALL PROCEEDINGS, PENDING
       RESOLUTION OF THE CRIMINAL MATTER.

       “A federal district court has the inherent power to stay the proceedings of an action,

so as to control its docket, to conserve judicial resources, and to provide for the just

determination of cases which pend before it.” Ruszczyk v. Noor, 349 F. Supp. 3d 754, 759

(D. Minn. 2018) (internal quotations and alterations omitted). A “‘stay of a civil trial until

factually related criminal proceedings are concluded is sometimes warranted.’”             Id.

(quoting Koester v. Am. Republic Invs., Inc., 11 F.3d 818, 823 (8th Cir. 1993)).



                                              3
        CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 4 of 11




       Such stays are routinely granted where factually related criminal proceedings are

taking place concurrently. See, e.g., Ruszczyk, 349 F. Supp. 3d at 759–60; see also United

States v. Caring & Compassionate Health Care Agency, L.L.C., No. 15-CV-2098

(DSD/TNL), 2020 WL 7383523, at *2 (D. Minn. Dec. 15, 2020); Peden v. United States,

512 F.2d 1099, 1103 (Ct. Cl. 1975) (“[I]t has long been the practice to ‘freeze’ civil

proceedings when a criminal prosecution involving the same facts is warming up or under

way.”); Estes-El v. Long Island Jewish Med. Ctr., 916 F. Supp. 268, 269 (S.D.N.Y. 1995)

(“It is well-settled that the Court may (and indeed, should) stay a federal Section 1983

action until resolution of parallel state court criminal proceedings.”). Indeed, “the strongest

case for deferring civil proceedings until after completion of criminal proceedings is where

a party under indictment for a serious offense is required to defend a civil or administrative

action involving the same matter.” S.E.C. v. Dresser Indus., Inc., 628 F.2d 1368, 1375-76

(D.C. Cir. 1980).

       To warrant such a stay, the defendant “must make a strong showing either that the

two proceedings are so interrelated that he cannot protect himself at the civil trial by

selectively invoking his Fifth Amendment privilege, or that the two trials will so overlap

that effective defense of both is impossible.” Koester, 11 F.3d at 823 (internal citation

omitted). “‘In making this determination, a Court must consider the particular

circumstances, and the competing interests, that are involved in each case.’” Ruszczyk,

349 F. Supp. 3d at 759 (quoting Fid. Nat’l Title Ins. Co. of New York v. Nat’l Title Res.

Corp., 980 F. Supp. 1022, 1024 (D. Minn. 1997), citing in turn Fed. Sav. and Loan Ins.

Corp. v. Molinaro, 889 F.2d 899, 901 (9th Cir. 1989)).


                                              4
        CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 5 of 11




       In addition to the Fifth Amendment rights outlined in Koester, the Court may

consider the following five factors in deciding whether to stay a civil case, pending

resolution of a parallel criminal matter:

       (1) the interest of the plaintiffs in proceeding expeditiously with this
       litigation or any particular aspect of it, and the potential prejudice to plaintiffs
       of a delay; (2) the burden which any particular aspect of the proceedings may
       impose on defendants; (3) the convenience of the court in the management
       of its cases, and the efficient use of judicial resources; (4) the interests of
       persons not parties to the civil litigation; and (5) the interest of the public in
       the pending civil and criminal litigation.

Ruszczyk, 349 F. Supp. 3d at 759 (quoting Fid. Nat’l Title Ins. Co. of New York, 980 F.

Supp. at 1024, quoting in turn Keating v. Office of Thrift Supervision, 45 F.3d 322, 324-25

(9th Cir. 1995)).

       It is immaterial that Trooper Seide is not also a criminal defendant. He will have to

testify under oath in the criminal trial and the evidence relevant to Plaintiff’s claims against

Trooper Seide is the same evidence that is relevant to the criminal trial. See Chagolla v.

City of Chicago, 529 F. Supp. 2d 941, 943 (N.D. Ill. 2008) (staying the civil rights lawsuit

against all eight defendants, where four of the officers had been indicted in connection with

the underlying circumstances); see also Trustees of Plumbers & Pipefitters Nat. Pension

Fund v. Transworld Mech., Inc., 886 F. Supp. 1134, 1141 (S.D.N.Y. 1995) (concluding a

complete stay as to all defendants was more efficient than a partial stay). Both matters

cannot proceed at the same time.

       A.     A Stay Is Warranted under the Five Factors Outlined in Keating.

       As set forth below, the relevant Keating factors weigh in favor of granting Trooper

Seide’s motion to stay these proceedings.


                                                5
        CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 6 of 11




              1.     The Plaintiff’s interest and the prejudice of delay.

       Plaintiff may argue she wants information and evidence relevant to her claims. But

given the active law enforcement investigation into this matter and criminal prosecution,

the information she seeks is confidential under Minnesota law and is currently unavailable

even to Trooper Seide. See Minn. Stat. § 13.82, subd. 7.

       Given the substantial overlap between the civil proceeding and criminal

investigation, there should be no concern that relevant evidence will be lost or made

unavailable if this matter were stayed. The evidence collected in the BCA investigation

will be preserved and eventually available in this civil suit. There is no articulable

prejudice to Plaintiff with respect to evidentiary concerns should this matter be stayed. On

the other hand, a review of the remaining Keating factors demonstrates that moving

forward with civil litigation at this early stage would result in significant burden and

prejudice to the Defendants. See Ruszczyk, 349 F. Supp. 3d at 760.

              2.     Burden on Trooper Seide.

       Proceeding with a civil rights litigation while a related criminal case proceeds

disadvantages Trooper Seide because he does not have access to information critical to his

defense. Under Minnesota law, nearly all criminal investigative data collected or created

by a law enforcement agency to prepare a case against a person for the commission of a

crime is confidential or protected nonpublic data while the investigation is active. Minn.

Stat. § 13.82, subd. 7. That information becomes public in one of four ways: (1) following

a decision by the appropriate prosecutorial authority not to pursue the case; (2) upon

expiration of the time to bring a charge or 30 years, whichever is earliest; (3) upon the


                                             6
        CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 7 of 11




exhaustion of all appeal rights by the person convicted; or (4) after presentation of

investigative data as evidence in Court. Id. Additionally, if Trooper Londregan asserts the

Fifth Amendment in the civil matter, it will confound Trooper Seide’s “discovery efforts

in defense of the civil litigation.” United States v. All Meat & Poultry Prod., No. 02 C

5145, 2003 WL 22284318, at *4 (N.D. Ill. Oct. 3, 2003).

              3.     Convenience of the Court.

       Because the criminal case is proceeding, a stay in the civil case can “promote

efficiency and avoid duplication as this Court and the parties would have the benefit of the

transcripts and rulings in the criminal action.” Crawford & Sons, Ltd. v. Besser, 298 F.

Supp. 2d 317, 319 (E.D.N.Y. 2004). Further, “the resolution of the criminal case might

reduce the scope of discovery in th[is] civil case or otherwise simplify the issues.” Brock

v. Tolkow, 109 F.R.D. 116, 120 (E.D.N.Y. 1985) (citing Texaco, Inc. v. Borda, 383 F.2d

607, 609 (3d Cir. 1967)); Crawford & Sons, Ltd., 298 F. Supp. 2d at 320 (noting that “a

conviction or acquittal in the criminal action may negate or buttress some or all of the

plaintiffs’ claims”). A stay would undoubtedly prevent the need for the Court to adjudicate

several privilege issues. See All Meat & Poultry Prods., 2003 WL 22284318, at *5.

       To reduce any case management burden of a stay, a court can “require[e] the parties

to advise the Court on any development in the criminal case.” Chao v. Fleming, 498

F. Supp. 2d 1034, 1040 (W.D. Mich. 2007). Here, Trooper Seide proposes that the stay

remain in place until the criminal case against Trooper Londregan is resolved, either by

dismissal, a verdict of not guilty, or sentencing after a plea of guilty or guilty verdict.

Within seven days of that event, Trooper Seide will submit a status update which will


                                             7
           CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 8 of 11




enable the Court to make an informed decision as to whether to continue, modify, or end

the stay.

                 4.     Interests of nonparties.

          Trooper Seide is unaware of any third parties who have a unique interest in the

progression of this civil case now, before the resolution of the criminal matter.

                 5.     The public interest.

          The public “has an interest in ensuring that the criminal process can proceed

untainted by civil litigation.” Chagolla, 529 F. Supp. 2d at 947; Jones v. City of

Indianapolis, 216 F.R.D. 440, 452 (S.D. Ind. 2003) (“The public also has an important

interest in a potential, untainted criminal prosecution that could arise from [a] death.”). To

that end, the criminal proceeding should be allowed to continue without the risk of publicity

about any civil case. Filings in the civil case could be publicized and could affect potential

jurors.

          The public has an interest in avoiding the “possibility that the orderly progress of

the criminal cases and investigations—particularly those involving the exact same

incidents at issue in the present case—will be hindered by issues that could arise from

ongoing civil discovery.” Chagolla, 529 F. Supp. 2d at 947. Where these two public

interests collide, and in the current procedural postures of the respective criminal and civil

cases, this “civil case, which carries only civil [remedies], is not of an equally pressing

nature” as the criminal case proceeding against Trooper Londregan. See S.E.C. v. Nicholas,

569 F. Supp. 2d 1065, 1072–73 (C.D. Cal. 2008); State Farm Automobile Ins. Co. v.

Healthcare Chiropractic Clinic, Inc., No. 15-cv-1527, 2016 WL 9307608, at *6 (D. Minn.


                                               8
        CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 9 of 11




Apr. 26, 2016) (“Courts around the country have recognized that ‘the public’s interest in

the integrity of the criminal case is entitled to precedence over the civil litigant.’”) (quoting

Javier H. v. Garcia-Botello, 218 F.R.D. 72, 75 (W.D.N.Y. 2003)).

       Further, there is also “an important public interest in having . . . issue[s] decided on

the basis of a full factual record.” Edwards v. Atrium Vill., 127 F.R.D. 494, 499 (N.D. Ill.

1989). Here, where the factual record will be limited due to the invocation of the Fifth

Amendment and lack of access to the BCA file, a stay is warranted.

       B.     A stay is also warranted based on the Fifth Amendment interests
              outlined in Koester.

       “Any individual defendant who is forced to respond to discovery will be faced with

the choice of whether to claim or waive the privilege against self-incrimination.” Chagolla,

529 F. Supp. 2d at 947. This discovery may also “expose the basis of the defendant['s]

criminal defense in advance of trial,” Crawford & Sons, Ltd., 298 F. Supp. 2d at 319, which

further burdens a criminal defendant’s strategies and tactics. An individual defendant has

an interest “in avoiding the quandary of choosing between waiving [his] Fifth Amendment

rights or effectively forfeiting the civil case,” particularly where the subject matter of the

criminal and civil cases so significantly overlaps. Trustees of Plumbers & Pipefitters Nat.

Pension Fund, 886 F. Supp. at 1140.

       Trooper Londregan undoubtedly has Fifth Amendment interests at stake and

Trooper Seide may as well. Absent a stay, the Defendants would be forced to choose

between defending themselves in an actual or potential criminal prosecution or this civil




                                               9
       CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 10 of 11




lawsuit. The Defendants should not be forced to choose between their Fifth Amendment

rights or effectively forfeiting this lawsuit. See Ruszczyk, 349 F. Supp. 3d at 762.

II.    THE COURT SHOULD GRANT AN EXTENSION OF THE TIME TO ANSWER OR
       RESPOND TO THE COMPLAINT.

       If the Court finds that the circumstances of this case warrant a stay until the criminal

case concludes, then Trooper Seide respectfully requests an extension of time to answer or

respond to the Complaint, until 30 days after the stay is lifted. Alternatively, even if the

Court determines that a stay is not warranted, Trooper Seide respectfully requests a 30-day

extension of the time to answer or respond, from the date that the Court issues its order on

Trooper Seide’s motion for a stay and extension.2

       Under Rule 6(b)(1) of the Federal Rules of Civil Procedure, “[w]hen an act may or

must be done within a specified time, the court may, for good cause, extend the time[.]”

When a motion for extension is made before the expiration of the original deadline, the

motion is “to be liberally permitted . . . ‘to secure the just, speedy, and inexpensive

determination of every action.’” Baden v. Craig-Hallum, Inc., 115 F.R.D. 582, 585

(D. Minn. 1987) (quoting Fed. R. Civ. P. 1); see also Seifert v. IMT Ins. Co., Civ. No.

20-1102 (JRT/DTS), 2021 WL 2228158, at *2 n.3 (D. Minn. June 2, 2021) (A “request

will normally be granted absent bad faith or prejudice”) (citing 4B Charles Alan Wright &

Arthur R. Miller, Federal Practice and Procedure § 1165 (4th ed.)).




2
 Plaintiff opposes Trooper Seide’s motion to stay. But Plaintiff does not oppose Trooper
Seide’s request for an extension of time to answer.

                                              10
         CASE 0:24-cv-01372-NEB-TNL Doc. 15 Filed 04/25/24 Page 11 of 11




        Good cause exists to grant Trooper Seide an extension of time to answer or

otherwise respond to the Complaint until 30 days after the lifting of any stay in this matter,

or until 30 days after the Court issues its order on the current motion.

                                      CONCLUSION

        For the reasons stated herein, Trooper Seide respectfully asks that this Court stay

the current Action, until the criminal case against Trooper Londregan is resolved, either by

dismissal, a verdict of not guilty, or sentencing after a plea of guilty or guilty verdict;

Trooper Seide also respectfully asks this Court for an extension of time to answer the

Complaint.


Dated: April 25, 2024                        Respectfully submitted,

                                             KEITH ELLISON
                                             Attorney General
                                             State of Minnesota

                                             s/ Janine Kimble
                                             JANINE KIMBLE (#0392032)
                                             ANNA VEIT-CARTER (#0392518)
                                             Assistant Attorneys General

                                             445 Minnesota Street, Suite 1400
                                             St. Paul, Minnesota 55101-2131
                                             (651) 757-1415 (Voice)
                                             (651) 297-7206 (TTY)
                                             janine.kimble@ag.state.mn.us

                                             ATTORNEYS FOR DEFENDANT
                                             BRETT SEIDE

|#5763094-v1




                                             11
